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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                     MIDLAND/ODESSA DIVISION

    TIMOTHY W. REPASS and WILLIAM                           §
    SCOTT McCANDLESS, Individually                          §
    and On Behalf of All Others Similarly                   §
    Situated,                                               §           Civil Action No.
                                                            §
    Plaintiffs,                                             §           7:18-CV-107-DC-RCG
                                                            §
    v.                                                      §
                                                            §
    TNT CRANE AND RIGGING, INC.                             §
                                                            §
    Defendant.                                              §

                  PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

                                               I.      INTRODUCTION

         Named and Opt-In Plaintiffs (collectively “Plaintiffs”) now move for partial summary judgment

against Defendant TNT Crane and Rigging, Inc. (“TNT”) in this Fair Labor Standards Act and New

Mexico Minimum Wage Act off-the-clock case on the following issues:

         1. TNT’s liability for unpaid overtime compensation for time Plaintiffs spent performing
            undisputedly compensable work at the beginning and end of the workday, including
            undisputedly compensable time traveling to and from jobsites within the continuous
            workday;

         2. Applicability of the Mt. Clemens Pottery burden-shifting scheme due to TNT’s undisputed
            failure to record the unpaid time; and

         3. TNTs’ liability for liquidated damages due to TNT’s admitted knowledge that it violated the
            FLSA.

         To clarify the scope of this motion, Plaintiffs do not seek summary judgment on the amount of

damages nor on TNT’s liability for every factual basis constituting an instance of unpaid overtime that

they intend to prove at trial. 1 Nor do Plaintiffs contend that every single Plaintiff experienced all of the



1
  For example, Plaintiffs allege that Defendant did not allow them to claim all their actual work time on their time sheets for
various other tasks and Defendant sometimes altered their time sheets—often surreptitiously—to reduce the hours Plaintiffs
logged. Defendant denies those allegations, so they must be adjudicated at trial.

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same set of facts. The extent to which each Plaintiff experienced the facts at issue in this motion and the

amount of their damages remain for trial. The procedure for trying the remaining issues is the subject of

the parties’ respective proposed trial plans to be presented in connection with TNTs’ Motion for

Decertification. Partial summary judgment is appropriate to establish TNT’s liability based on the

undisputed facts discussed below constituting the core overtime violations at issue in this action, at least

as to some of the Plaintiffs, as well as applicability of Mt. Clemens Pottery and liquidated damages.2

         Plaintiffs were employed by TNT as non-exempt crane operators working out of TNT’s Houston,

San Antonio, and Midland Yards. (Order Adopting Report and Recommendation on Motion for

Conditional Certification, Dkt. 29, *2).3 TNT admits that, as a matter of policy, depending on the

arrangement TNT had with its customer, it routinely refused to pay Plaintiffs for undisputedly

compensable work that they performed before driving to their jobsites and the time they spent driving to

their jobsites after they had performed compensable work. Similarly, TNT admits that it routinely refused

to pay Plaintiffs for the time they spent driving back from their jobsites and performing additional

compensable work after the drive. These driving times were often significant, including travel to remote

oilfield drilling sties in the Permian Basin in Texas and New Mexico and in the Eagle Ford Shale region

in Texas, as well as worksites in other regions. For example, drive times from the Midland yard to the

Plaintiffs’ jobsites were often between one hour and 45 minutes to three hours. (Undisputed Fact 1.)4

         TNT concedes that it failed to keep records of the unpaid time in question, which undisputedly

invokes the burden-shifting rule for proving the amount of damages established by the Supreme Court



2
 Consistent with the scope of this motion, Plaintiffs do not attempt to cite all relevant evidence from each of the representative
discovery plaintiffs to establish each summary judgment fact, but rather only sufficient representative evidence to establish
the violations as to at least some of the Plaintiffs.
3
 Defendant concedes that Plaintiffs are not exempt from the protections of the Fair Labor Standards Act, 29 U.S.C. § 201, et
seq., and therefore that they were entitled to be paid at one and one-half times their regular rates of pay for all hours that they
worked over forty in a workweek. 29 U.S.C. § 207(a)(1); (Ex. A, Defendant’s Response to Plaintiff Repass’s Interrogatory
No. 16.)
4
 Plaintiffs incorporate by reference their attached Appendix of Undisputed Facts citing to the deposition transcripts and
evidence in the summary judgment record, which are also attached as exhibits.

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in Anderson v. Mt. Clemens Pottery Company, 328 U.S. 680 (1946).

       Finally, TNT’s officers and managers who were responsible for complying with the overtime pay

requirements admit that they have known throughout all the relevant years that the unpaid tasks in

question were compensable. Therefore, as a matter of law, TNT cannot establish its good faith defense

to liquidated damages.

                            II.     SUMMARY JUDGMENT STANDARD

       Summary judgment is required “if the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any

material fact and that the moving party is entitled to a judgment as a matter of law.” FED. R. CIV. P. 56;

Canal Ins. Co. v. Flores, 524 F. Supp.2d 828, 832-34 (W.D. Tex. 2007). A dispute about a material fact

is genuine only “if the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Ellison v. Software Spectrum, Inc.,

85 F.3d 187, 189 (5th Cir. 1996).

       “[The] party seeking summary judgment always bears the initial responsibility of informing the

district court of the basis for its motion, and identifying those portions of [the record] which it believes

demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317,

323-34 (1986); Wallace v. Texas Tech. Univ., 80 F.3d 1042, 1046-1047 (5th Cir. 1996). The non-

movant’s burden may not be satisfied by “conclusory allegations, unsubstantiated assertions, or only a

scintilla of evidence.” Warfield v. Byron, 436 F.3d 551, 557 (5th Cir. 2006) (quoting Freeman v. Texas

Dep't of Crim. Justice, 369 F.3d 854, 860 (5th Cir. 2004)). Fact disputes are resolved in favor of the non-

movant, “but only when there is an actual controversy, that is, when both parties have submitted evidence

of contradictory facts.” Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc). Thus,

the ultimate inquiry is “whether the evidence presents a sufficient disagreement to require submission to

a jury or whether it is so one-sided that one party must prevail as a matter of law.” Anderson, 477 U.S.

at 251-52.

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                               III.   ARGUMENT AND AUTHORITIES

    A. There is no genuine issue of material fact on TNT’s liability for some of the Plaintiffs’
       unpaid compensable work time.


        An FLSA plaintiff must prove the following in order to obtain judgment against an employer

for unpaid overtime: “(1) that there existed an employer-employee relationship during the unpaid

overtime periods claimed; (2) that the employee engaged in activities within the coverage of the FLSA;

(3) that the employer violated the FLSA’s overtime wage requirements; and (4) the amount of

overtime compensation due.” Parrish v. Premier Directional Drilling, L.P., 917 F.3d 369, 379 (5th

Cir. 2019) (citations omitted); see also Fifth Circuit Pattern Jury Instruction 11.24 (not including

damages as an element). Courts interpreting the FLSA are instructed to do so broadly in favor of

employees. See, e.g., Allen v. McWane, Inc., 593 F.3d 449, 452 (5th Cir. 2010).

        Plaintiffs do not seek summary judgment on the amount of their damages. Therefore, only the

first three elements are at issue.

            1. TNT admits the first and second elements of the prima facie case.

        As for the first element, TNT admits that there was an employee-employer relationship under the

FLSA. (Dkts. 77 and 79, ¶¶ 9-10). As for the second element, the FLSA requires employers to comply

with its overtime and minimum wage provisions if they have (1) employees engaged in commerce or in

the production of goods for “commerce” under 29 U.S.C. §203(b) (known as “individual coverage”) or

(2) employees “employed in an enterprise engaged in commerce or in the production of goods for

commerce” under 29 U.S.C. §203(s)(1) (known as “enterprise coverage”). 29 U.S.C. §207(a)(1). “Either

individual or enterprise coverage is enough to invoke FLSA protection.” Martin v. Bedell, 955 F.2d

1029, 1032 (5th Cir. 1992) (emphasis in original). Here, TNT admits FLSA coverage. (Id., ¶¶ 11-13, 18;

Ex. A, No. 20).




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                2. It is undisputed that TNT violated the FLSA’s overtime requirement.

                    a. Under the “continuous workday” or “whistle-to-whistle” rule, Plaintiffs are entitled
                       to overtime compensation for their first and last “principal activities” of the workday,
                       as well as travel time that falls between them.

           As for the third element, Plaintiffs worked over forty hours in a workweek without receiving

overtime compensation for (1) the work they performed before driving to their jobsites at the beginning

of many workdays or after driving back from their jobsites at the end of the day, as well as (2) the time

they spent driving to their jobsites after performing compensable work or back from their jobsites before

performing additional compensable work.

                         i. The “Continuous Workday,” or “Whistle-to-Whistle,” Rule

           Under the Portal-to-Portal Act of 1947, which amended the FLSA,5 all working time, including

travel time, is compensable if it occurs after the first, but before the last, performance of the “principal

activity or activities” which the employee is hired to perform; but an employee’s time is non-

compensable if it is spent performing preliminary or postliminary activities that do not constitute

“principal activities.” See 29 U.S.C. § 254(a). The employer bears the burden to prove that the Plaintiffs’

work time is non-compensable under the Portal-to-Portal Act. See Bleichner v. Speis Painting &

Decorating, Inc., No. 08–cv–057–bbc, 2009 WL 281145, *7 (W.D. Wis., Feb. 3, 2009), (citing Walling

v. General Industries Co., 330 U.S. 545, 547–48 (1947)). TNT cannot carry that burden here.

           It is well settled under the “continuous workday,” or “whistle to whistle” rule, that an employee’s



5
    The Portal-to-Portal Act, 29 U.S.C. § 254(a), reads as follows:
           Except as provided in subsection (b) of this section, no employer shall be subject to any liability or
           punishment under the Fair Labor Standards Act of 1938, as amended, the Walsh-Healey Act, or the Bacon-
           Davis Act, on account of the failure of such employer to pay an employee minimum wages, or to pay an
           employee overtime compensation, for or on account of any of the following activities of such employee
           engaged in on or after May 14, 1947--
           (1) walking, riding, or traveling to and from the actual place of performance of the principal activity or
               activities which such employee is employed to perform, and
           (2) activities which are preliminary to or postliminary to said principal activity or activities,
           which occur either prior to the time on any particular workday at which such employee commences, or
           subsequent to the time on any particular workday at which he ceases, such principal activity or activities.

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compensable time begins to run when he performs his first principal activity or activities of the day, and

it continues to run through the performance of the day’s last principal activity or activities. IBP, Inc. v.

Alvarez, 546 U.S. 21, 29 (2005) (holding that time spent walking after performing the first principal

activities of the day is compensable); 29 C.F.R. §790.6(a) (“Periods of time between the commencement

of the employee’s first principal activity and the completion of his last principal activity on any workday

must be included in the computation of hours worked to the same extent as would be required if the

Portal Act had not been enacted.”).6 In short, other than bona fide meal breaks under 29 C.F.R. §785.19,

an employer must pay its employees for all of the employees’ time after they have performed one of

their first principal activities of the day until they perform the last principal activity of the day.

         Stated another way, all time under the FLSA is compensable when it is “all in a day’s work.” See

also 29 C.F.R. §785.38 (“Where an employee is required to report at a meeting place to receive

instructions or to perform other work there, or to pick up and to carry tools, the travel from the designated

place to the work place is part of the day’s work, and must be counted as hours worked regardless of

contract, custom, or practice.”). Consistent with this notion, as the Fifth Circuit noted in Vega v. Gasper:

         Where an employee is required to report at a meeting place to receive instructions or to
         perform other work there, or to pick up and to carry tools, the travel from the designated
         place to the workplace is part of the day’s work, and must be counted.

Vega v. Gaspar, 36 F.3d 417, 424 (5th Cir. 1994) (internal quotations omitted) (citing and quoting 29

C.F.R. 785.38).7 Thus, under the FLSA, all of an employee’s time is compensable from the time that he


6
  See also Cantu v. Milberger Landscaping, Inc., 12 F. Supp. 3d 918, 921-22 (W.D. Tex. 2014) (“Under this rule, an
employee’s travel time is not compensable unless it is an indispensable part of performing one’s job . . . However, where an
employee is required to report at a meeting place to receive instructions or to perform other work there, or to pick up and
carry tools, the travel from the designated place to the workplace is part of the day's work, and must be counted.” (internal
citations and quotations omitted); Garcia v. Champion Glass, LLC, Civ. No. SA-12-CA-0703-FB, 2014 WL 12537863, *4
(W.D. Tex. Oct. 23, 2014) (holding that the plaintiffs’ evidence that they loaded and unloaded tools and equipment at the
defendant’s place of business prior to and after their regular work hours was sufficient evidence of principal activities to
defeat employer’s motion for summary judgment); Johnson v. RGIS Inventory Specialists, 554 F. Supp. 2d 693, 703-704
(E.D. Tex. 2007)(“[U]nder the continuous workday or whistle to whistle rule, the workday is defined as the period between
the commencement and completion on the same workday of an employee’s principal activity or activities.”).
7
  Notably, although the Vega court discusses a “require[ment] to report at a meeting place,” (and assuming, arguendo, that
this phrase refers to the employer “requir[ing]” something of the employee) in Integrity Staffing Solutions, Inc. v. Busk, the
Supreme Court subsequently and explicitly clarified that the employer need not “require[],” or even benefit from, a principal

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performs the first principal activity of the day to the time that he performs the last principal activity of

the day.

                      ii. “Principal Activities”

        “Principal activities,” in turn, includes all “activities [that are] are an integral and indispensable

part of the principal activities for which covered workmen are employed . . .” IBP, Inc. 546 U.S. at 29-

30 (citing Steiner v. Mitchell, 350 U.S. 247, 256 (1956)). “An activity is . . . integral and indispensable

to the principal activities that an employee is employed to perform if it is an intrinsic element of those

activities and one with which the employee cannot dispense if he is to perform his principal activities.”

Busk, 574 U.S. at 33; see also 29 C.F.R. § 790.8 (citing, as an example, the time spent by a chemical

plant employee changing clothes would be compensable if he was unable to “perform his principal

activities without putting on certain clothes,” but would not be compensable if “changing clothes [were]

merely a convenience to the employee not directly related to his principal activities.” (cited with approval

in Busk, 574 U.S. at 34)).

        “Critically, the integral-and-indispensable inquiry does not turn on whether the employer

requires the activity or whether the activity benefits the employer . . . Instead, the question is ‘tied to the

productive work that the employee is employed to perform.’ ” Aguilar, 948 F.3d at 1276-77 and n. 3

(internal footnote and citation omitted; emphasis in Busk) (citing and quoting Busk, 574 U.S. at 36); see

also, Busk, 574 U.S. at 36 (“A test that turns on whether the activity is for the benefit of the employer is

similarly overbroad.”). See also 29 C.F.R. § 790.8(a) (explaining that the term “principal activities” was

“considered sufficiently broad to embrace within its terms such activities as are indispensable to the



activity in order for the employee’s work to be compensable. Aguilar v. Management & Training Corp., 948 F.3d 1270,
1276-77 and n. 3 (10th Cir. 2020) (citing Integrity Staffing Solutions, Inc. v. Busk, 574 U.S. 27, 36 (2014)). In addition,
although “work” is not defined in the FLSA, the Supreme Court has given it a broad reach. “Work” under the FLSA is defined
by the Supreme Court as “physical or mental exertion (whether burdensome or not) controlled or required by the employer
and pursued necessarily and primarily for the benefit of the employer and his business.” Busk, 574 U.S. at 31 (citing and
quoting Tennessee Coal, Iron & R.R. v. Muscoda Local No. 123, 321 U.S. 590, 598 (1944); see also Jewell Ridge Coal Corp.
v. Local No. 6167, 325 U.S. 161, 164-66 (1945).



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performance of productive work” (internal quotation marks omitted; emphasis added)); § 790.8(c)

(“Among the activities included as an integral part of a principal activity are those closely related

activities which are indispensable to its performance.” (emphasis added)). The focus of the “principal

activity” inquiry, therefore, is on the employee’s work, and not on whether the employer requires or even

directly benefits from it.8

                  b. Obtaining and loading materials necessary for the job and picking up and dropping
                     off coworkers required for the job at the employer’s office to transport them to a
                     jobsite are integral and indispensable to the principal activities.

         Plaintiffs here are similar to the plaintiffs in the Cantu, Garcia, and Johnson cases, all cited in

Footnote 6 above. For example, in Cantu, the plaintiffs—landscape workers—went to the employer’s

yard before their shifts in the morning and loaded lawnmowers, tools, water, ice, and other equipment

before they left the yard for the day’s work; and, in the evenings, they would unload refuse, equipment,

other materials, and generally prepare for the next day’s work at the end of the day. Cantu, 12 F. Supp.

3d at 922-23. Like the Plaintiffs here, the Cantu plaintiffs were also not paid for certain of their travel

time that occurred after the first principal activity (loading tools and equipment in the morning), but

before the last principal activity (unloading tools and refuse and preparing for the next day’s work), of

the day. Id. The Cantu court held that the plaintiffs there performed compensable work before and after

their shifts, and granted the plaintiffs’ motion for partial summary judgment (and denied the defendant’s

motion for summary judgment) on the issue of the compensability of some of their travel and work time.

Id., 922-23, 924.

         Similarly, when an employee is required to report to the employer’s facilities to pick up and drop

off a coworker and transport them to a jobsite and the coworker is necessary to perform the work, such

time is also compensable work. See Scalia v. AWP, Inc., No. 1:18-CV-1183, 2020 WL 7639980, at *11


8
  Similarly, the Fifth Circuit has long taken a broad view of the work that makes up an employee’s principal activities. They
include all of an employee’s predominant job responsibilities and any tasks incidental to those responsibilities. Dunlop v.
City Elec., Inc., 527 F.2d 394, 399-401 (5th Cir. 1976) (citing Mitchell v. Mitchell Truck Line, Inc., 286 F.2d 721 (5th Cir.
1961)); see also Vega, 36 F.3d at 424.

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(W.D. Mich. Dec. 23, 2020) (“If two employees are needed to perform a flagging job, and employees

are categorically forbidden from parking at the worksite, then the only way a flagging job could be

performed is if the flagger with the company truck transported a partner. This would make such partner

transportation integral and indispensable to the activity of flagging.”); Thacker v. Halter Vegetation

Management, Inc., No. 2:13–cv–00378–JMS–WGH, 2015 WL 417713, *10 (Jan. 30, 2015) (“[t]o be

sure, picking up and transporting coworkers is compensable if doing so extended [the] commute past the

normal commute range, or if [the plaintiff] picked up coworkers and/or transported them to work sites

after going to [the employer’s] office, and returned them to [the employer’s] office at the end of the

day.”); Bleichner v. Spies Painting & Decorating, Inc., 2009 WL 281145 (W.D.Wis.2009) (“use of the

company vehicle to transport other employees to and from the jobsites is properly considered ‘work’

under the FLSA.”)

                  c. It is undisputed that Plaintiffs routinely performed compensable work before
                     traveling to the jobsite at the beginning of the workday and after traveling back from
                     the jobsite at the end of the workday.

         Before driving to their jobsites or after driving back, the Plaintiffs routinely performed one or

more compensable work tasks that constitute “principal activities,” including: (1) filling or topping off

an auxiliary “drag” (or “L”) tank on their company provided pickup trucks that they used to fuel their

cranes (Undisputed Fact 12.); (2) acquiring and loading other equipment and materials, such as Diesel

Exhaust Fluid (DEF), grease, and cleaning products needed to maintain their cranes in working order

(Undisputed Fact 13); and (3) picking up or dropping off riggers who worked with the crane operators

on the jobsite and were required for many jobs. (Undisputed Fact 14.)9

         On many days, the Plaintiffs obtained and loaded fuel and necessary work materials at TNT’s



9
  These are only examples, not an exhaustive list, of some of the most common unpaid compensable tasks that Plaintiffs
routinely performed. With this motion, Plaintiffs seek only a finding that Defendant is liable for unpaid overtime because it
refused to pay for at least some compensable tasks in overtime weeks. The amount of damages—based on evidence of the
full range of unpaid compensable tasks and the frequency with which each plaintiff performed them—is left to be determined
at trial.

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yard. (Undisputed Fact 15.) Even if TNT did not specifically instruct a Plaintiff to report to the yard on

a particular day to pick up a rigger or particular materials or equipment, TNT expected them to stop at

the yard on the way to or from their jobsites as often as needed to stock up on fuel and other materials

needed to maintain their cranes in good working order. (Undisputed Fact 16.) On jobs that were too far

from one of TNT’s yards, Plaintiffs were required to stop at a service station or store to purchase and

load the same necessary fuel and materials. (Undisputed Fact 17.) TNT issued the Plaintiffs company

credit cards to purchase those items needed for the job. (Undisputed Fact 18.)

       “The main role of the rigger is to connect whatever is being lifted to the crane hook” and TNT’s

customers require a rigger on many jobs. (Undisputed Fact 19.) Personal vehicles were not allowed on

jobsites for “liability and reliability” reasons. (Undisputed Fact 20.) TNT often required crane operators

to pick up and drop off riggers at TNT’s yard and transport them to the jobsite because TNT did not

provide riggers with company vehicles. (Undisputed Fact 21.) In most cases, stopping at TNT’s yard to

pick up or drop off a rigger extended the crane operators’ commute. (Undisputed Fact 22.)

       These activities were all indispensable to the performance of the Plaintiffs’ work. After all, (1)

without fuel, the Plaintiffs could not run the cranes; (2) without DEF, grease, and cleaning products, the

Plaintiffs could not keep the cranes in good working order; and (3) without a rigger, the Plaintiffs could

not safely perform their jobs. Therefore, it is undisputed that Plaintiffs performed compensable work

before driving to or after driving from their jobsites most days. Consequently, under the continuous

workday rule, Plaintiffs’ driving time to or from the jobsites is compensable on those legs of the trip

bounded on either or both ends by other compensable work.

               d. TNT admits that, depending on certain circumstances and its arrangement with its
                  customer, it routinely refused to pay Plaintiffs for compensable work before traveling
                  to the jobsite at the beginning of the workday or after traveling back from the jobsite
                  at the end the workday, as well as the compensable travel time.

       TNT issued and followed written and unwritten policies that it would not pay its crane operators

for any travel time to and from their jobsites on certain jobs and under certain circumstances, depending


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mainly on whether TNT’s customer paid for the travel time. (See Undisputed Facts 23-30.) These

policies applied without regard to whether the operators had performed compensable work that bounded

the continuous workday before traveling to the jobsite or after traveling back. (See id.) These policies

varied slightly from branch to branch and evolved over time. (See id.) Under each of the various iterations

of its policies, with some exceptions under certain conditions, TNT did not pay crane operators for daily

travel time to and from the jobsite in company pickup trucks if TNT’s contract with its customer did not

include payment for that travel time, and sometimes TNT did not pay the travel time even when the

customer did. (See id.)10

         For example, TNT’s Midland and San Antonio branches followed written policies stating that

travel time would not be paid unless (1) the customer paid for it or (2) the crane operator opted to (a)

stay in a hotel and (b) receive a $35 per diem (or $60 if he stayed at a man camp during a certain period

at TNT’s Midland Branch). (Undisputed Facts 23, 26.) If the crane operator opted to stay in his own

lodging, he would receive only a $100 per diem and would not be paid travel time, unless TNT’s

customer paid for the travel time, regardless of whether the operator performed compensable work before

traveling to the jobsite or after returning. (Id.) However, at least in San Antonio, even if the customer

paid for travel time, TNT still would not pay the crane operators for their travel time if they opted for

the $100 per diem. (Undisputed Fact 24.) Some details of these written policies have been amended from

time to time. (Undisputed Fact 25.)

         Additionally, for “continuous” jobs (i.e., those that lasted longer than one day) in the greater San

Antonio area that did not require an overnight stay, TNT’s policy was that crane operators were not paid

for daily travel time in company pickups. (Undisputed Fact 27.) Instead, they were only paid travel time

when driving cranes or haul trucks, which typically occurred only on the first and last day of the job



10
  Across all branches, TNT was generally able to charge its customers for time crane operators spent traveling in a crane or
haul truck, and TNT generally paid its crane operators for that time. TNT’s policies of not paying for certain travel time that
are the subject of this motion pertain to days in which crane operators traveled in company pickup trucks or personal vehicles.

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when they mobilized and demobilized the equipment on the jobsite. (Id.) For such jobs, TNT instructed

operators on their timesheets: “On continued jobs your time STARTS & STOPS at the job except the

first and last day.” (Id.) In spite of that policy, Todd Stevens, who has been in charge of reviewing crane

operators’ time sheets in the San Antonio Branch throughout the relevant period, claims that on San

Antonio-area “continuous” jobs, if an operator had indicated on his time sheet that he performed

compensable work, like stopping at a gas station to get necessary work supplies, he would be paid.

(Undisputed Facts 7-10, 28.) However, Stevens admits he does not recall anyone ever explaining that to

the operators nor any operators ever asking to be paid under those circumstances. (Undisputed Fact 28.)

       Similarly, TNT’s Houston Branch had an unwritten policy that crane operators were only paid

travel time the first and last day of “continuous jobs” (i.e., jobs lasting more than one day) because its

contracts with its customers on those jobs did not include daily travel time in pickups. (Undisputed Fact

29.) The same policies regarding travel time pay for the Houston Branch also applied to TNT’s Freeport

yard because it was a satellite yard to the Houston Branch under Murray’s supervision. (Undisputed Fact

30.) This policy applied even though crane operators assigned to TNT’s Houston and Freeport yards,

like crane operators at TNT’s other branches, routinely loaded fuel in their auxiliary tanks to fuel their

cranes and loaded other materials needed for their work before traveling to their jobsites or after returning

from their jobsites. (See Undisputed Facts 18, 31 (TNT provided Houston and Freeport crane operators

with credit cards to purchase fuel and supplies needed for the job if it was inconvenient to pick them up

from the Houston or Freeport yards.).)

       First, TNT’s managers instructed crane operators not to claim travel time when TNT’s policies

precluded it, and operators generally complied by not claiming it. (Undisputed Fact 32.) Second, on

occasions when crane operators did claim travel time on their time sheets, and even when they

documented particular compensable tasks before traveling to the jobsite or after returning, TNT

managers cut that time from their time sheets and refused to pay it. (Undisputed Fact 33.) Perhaps

because of these undisputed facts, somee TNT witnesses who claimed the Plaintiffs would have been
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paid if they had recorded all compensable time ultimately recanted and admitted that they were not paid

or would not be paid even if they had recorded all time. (Undisputed Facts 26, 33 (Harrison), Undisputed

Fact 33 (Stevens).

       The Plaintiffs worked well over forty hours, and often over 100 hours, most weeks. (Undisputed

Fact 34.) Therefore most of that routinely unpaid compensable time occurred in overtime weeks and

therefore constituted unpaid overtime hours. Indeed, TNT admitted to cutting compensable tasks and

travel time in overtime weeks. (Undisputed Fact 26.)

               e. TNT undisputedly knew, or had reason to believe, that Plaintiffs were working
                  overtime off the clock.

       Under the FLSA,

       no employer shall employ any of his employees . . . for a workweek longer than forty
       hours unless such employee receives compensation for his employment in excess . . .
       [of forty] hours . . . at a rate not less than one and one-half times the regular rate at
       which he is employed.”

29 U.S.C. § 207(a)(1); 29 C.F.R. § 778.100-.105. The FLSA defines “employ” very broadly as “to suffer

or permit to work.” 29 U.S.C. § 203(g). Consequently, “[a]n employer who is armed with [knowledge

that an employee is working overtime] cannot stand idly by and allow an employee to perform overtime

work without proper compensation, even if the employee does not make a claim for the overtime

compensation.” Fairchild v. All Am. Check Cashing, Inc., 815 F.3d 959, 964 (5th Cir. 2016) (quoting

Harvill v. Westward Commc’ns, L.L.C., 433 F.3d 428, 441 (5th Cir. 2005). In other words, an employer

who knows or has “reason to believe” that an employee is working overtime cannot look the other way,

accepting the benefit of that work, without paying the employee in accordance with the FLSA. Fairchild,

815 F.3d at 965.

       The Fifth Circuit recently reaffirmed that an employer cannot escape liability by claiming “it

was unaware that employees were not recording overtime hours” when a “supervisor had actual

knowledge or, at a minimum, constructive knowledge that the employees were working, but not

reporting, overtime hours.” United States Dep’t of Lab. v. Five Star Automatic Fire Prot., L.L.C., 987

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F.3d 436, 444 (5th Cir.), reh’g denied, 997 F.3d 1258 (5th Cir. 2021) (citing Brennan v. General Motors

Acceptance Corporation, 482 F.2d 825, 827-28 (5th Cir. 1973). “The company cannot disclaim

knowledge when certain segments of its management squelched truthful responses.” Id. (cleaned up);

see also 29 C.F.R. § 785.13. (“[I]t is the duty of the management to exercise its control and see that the

work is not performed if it does not want it to be performed . . . .”). Thus, the Fifth Circuit has repeatedly

affirmed district court findings of overtime violations “based on the representative testimony of a de

facto policy of underreporting time.” Id.

       Here, TNT admits not only to a de facto policy of underreporting time, but to a formal policy of

nonpayment for compensable travel and other work tasks that it was aware Plaintiffs performed at the

beginning and end of their shifts. TNT instructed and expected Plaintiffs not to record on their time

sheets the travel and other work tasks that it refused to compensate. (Undisputed Fact 32.) Furthermore,

TNT admits it cut Plaintiffs’ time from their time sheets when they claimed travel time on their time

sheets in contravention of TNT’s policies, regardless of whether they performed compensable tasks.

(Undisputed Fact 33.)

       Therefore, because it knew (or should have known) that the Plaintiffs were working off the clock,

TNT is legally foreclosed from attempting to disclaim knowledge of particular instances when Plaintiffs

performed such tasks without recording them.

   B. Plaintiffs are entitled to utilize the Mt. Clemens Pottery burden-shifting framework for
      determining the amount of uncompensated travel time.

       Every employer subject to the FLSA is required to “make, keep, and preserve” records of its

employees’ hours worked. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2. The recordkeeping requirement

includes time sheets “on which are entered the daily starting and stopping time of individual employees.”

29 C.F.R. § 516.6. “Seventy-five years ago in Anderson v. Mt. Clemens Pottery Company, the Supreme

Court fashioned a burden-shifting framework for federal wage claims where an employer fails to

maintain proper records.” Five Star, 987 F.3d at 439 (citing Mt. Clemens, 328 U.S. 680, 687 (1946)).


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“Under Mt. Clemens, if ‘the employer’s records are inaccurate or inadequate,’ a plaintiff need only show

by ‘just and reasonable inference’ that she was an employee, worked the hours, and wasn’t paid.” Id. at

439-40. (quoting Mt. Clemens). “It’s a lenient standard rooted in the view that an employer shouldn’t

benefit from its failure to keep required payroll records, thereby making the best evidence of damages

unavailable.” Id. at 440.

       Under the Mt. Clemens Pottery standard, a plaintiff does not have to “prove each hour of overtime

work with unerring accuracy or certainty.” Pforr v. Food Lion, Inc., 851 F.2d 106, 108 (4th Cir. 1988).

Rather, a Plaintiff is only required to show “the amount and extent of improperly compensated work as

‘a matter of just and reasonable inference.’ ” Mt. Clemens, 328 U.S. at 687. “[W]hen assessing damages

under the Anderson standard, a court may draw inferences from oral testimony, sworn declarations, and

whatever relevant documentary evidence a plaintiff is able to provide.” Ventura v. Bebo Foods, Inc., 738

F. Supp. 2d 8, 13 (D.D.C. 2010). “Where the inaccuracy is due to the employer's failure to keep adequate

records as required by statute, imprecise evidence on quantum provides a “sufficient basis” for damages.

Reeves v. International Tel. and Tel. Corp., 616 F.2d 1342, 1351 (5th Cir. 1980). Under these

circumstances, [the Fifth Circuit has] “in effect ordered the fact finder to do the best he could in assessing

damages.” Id. In Reeves, the Fifth Circuit upheld the district court’s award of unpaid wages based on

the plaintiff’s testimony of his estimate of average hours per week based on a “running total of hours”

that he conceded “corresponded to the rough computations of his subconscious mind.” Id. at 1352. The

court held the award “reflected a conscientious adherence to the rule enunciated in Anderson v. Mt.

Clemens.” Id.

       Once a plaintiff provides an estimate of unpaid hours and wages, “[t]he burden then shifts to the

employer to come forward with evidence of the precise amount of work performed or with evidence to

negative the reasonableness of the inference to be drawn from the employee’s evidence.” Id. at 687-88.

If the employer fails to do so, it cannot complain that the resulting calculations of the number of hours

worked or back pay owed is too uncertain or approximate. Id. at 680; Marshall v. Partida, 613 F.2d
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1360, 1362 (5th Cir. 1980); Hodgson v. Ricky Fashions, 434 F.2d 1261, 1264 (5th Cir. 1970); Mitchell

v. Mitchell Truck Line, 286 F. 2d 721, 725 (5th Cir. 1970).

        To be clear, Plaintiffs do not seek a ruling that they have carried their burden under Mt. Clemens

Pottery because they have not yet presented their estimates of damages and all supporting evidence to

the Court. Damages must be determined at trial. Rather, Plaintiffs seek a ruling simply that the Mt.

Clemens Pottery burden-shifting rule applies in this case because TNT failed to keep complete and

accurate records of their hours.

        In Five Star, the Fifth Circuit affirmed the district court’s application of the Mt. Clemens burden-

shifting rule based on “consistent testimony that Five Star urged employees not to record their pre- and

post-shift work hours,” 987 F.3d at 440, and the Court’s finding that “while the typical workday ended

at 3:30 pm, that was the time employees left the jobsite. And Five Star didn’t compensate employees for

the required travel time back to the shop.” Id. at 441. Likewise, both TNT and Plaintiffs have offered

consistent testimony that TNT told the Plaintiffs that, depending on its arrangement with its customers,

TNT would not compensate Plaintiffs for compensable work tasks before and after traveling to the

jobsite or the required travel time. (Sections III(A)(2)(d), above.) Both sides also testify consistently that

TNT urged Plaintiffs not to record that time on their time sheets, and that the Plaintiffs routinely did not

record the time. (Undisputed Fact 32.) Therefore, the Court must apply the Mt. Clemens Pottery burden-

shifting rule at trial.

    C. TNT cannot establish its good faith defense to liquidated damages because its officers and
       managers knew it was violating the FLSA.

        “Any employer who violates the [FLSA’s overtime provision] shall be liable to the employee or

employees affected in the amount of their . . . unpaid overtime compensation . . . and in an additional

equal amount as liquidated damages.” 29 U.S.C. § 216(b). “Liquidated damages” under the FLSA are

compensatory in nature, not punitive. See Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697, 707-08 (holding

that the purpose of the FLSA’s liquidated damages provision is to compensate underpaid workers “for


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the retention of a workman’s pay which might result in damages too obscure and difficult of proof for

estimate other than by liquidated damages”).

       “A court must grant liquidated damages under Section 216 of the FLSA unless the employer

meets its substantial burden of persuading the court that its act or omission was both in good faith and

reasonable.” Mohammadi v. Nwabuisi, 990 F. Supp. 2d 723, 749 (W.D. Tex. 2014), aff’d in part, rev’d

in part and remanded on other grounds, 605 F. App’x 329 (5th Cir. 2015) (citing Lowe v. Southmark

Corp., 998 F.2d 335, 337–38 (5th Cir.1993); Singer v. Waco, 324 F.3d 813, 823 (5th Cir.2003);

Barcellona v. Tiffany English Pub, Inc., 597 F.2d 464, 468 (5th Cir.1979)). The good-faith affirmative

defense requires defendants to carry the “substantial burden” of proving that they made an attempt to

comply with the FLSA that was both in subjective good faith and objectively reasonable. Mireles v. Frio

Foods, Inc., 899 F.2d 1407, 1415 (5th Cir. 1990) (citing 29 U.S.C. § 260). To support the subjective

component of this defense, the employer is required to provide “plain and substantial evidence of at least

an honest intention to ascertain what the FLSA requires and to comply with it.” Carmack v. Park Cities

Healthcare, LLC, 321 F. Supp. 3d 689, 707 (N.D. Tex. 2018). “Even if the Court finds that an employer

acted with subjective good faith, however, the employer must also demonstrate that it acted with

objective good faith. Campos v. Lone Star Wheel Components, Inc., Civil Action No. 3:13-CV-04088-

N, 2016 U.S. Dist. LEXIS 195224, at *12 (N.D. Tex. 2016).

       Under section 260, “good faith requires some duty to investigate potential liability under the

FLSA.” Mohammadi, 990 F. Supp. 2d at 749 (citing Barcellona, 597 F.2d at 469). “Lack of good faith

is demonstrated when an employer “knows, or has reason to know, that his conduct is governed by the

[FLSA].” Reeves, 616 F.2d at 1353 (5th Cir. 1980) (quoting Brennan v. Heard, 491 F.2d 1, 3 (5th Cir.

1974)); see also Coleman v. Jiffy June Farms, Inc., 458 F.2d 1139, 1142 (5th Cir.1971) (“Stated most

simply, we think the test should be: Did the employer know the FLSA was in the picture?”).

       TNT admits not only that it knew that its conduct is governed by the FLSA, but that it also knew

the FLSA required it to pay its employees for the precise work tasks and travel time at issue in this
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motion. TNT’s designated corporate representative Antoy Bell, who is a licensed attorney and TNT’s

Human Resources Director, agrees that obtaining and loading fuel and materials needed for the job at its

yards or at services stations is compensable work. (Undisputed Fact 35.) Consequently, Bell claims he

advised TNT’s Midland, San Antonio, and Houston Branch Managers that TNT was legally obligated

to compensate crane operators for travel from TNT’s branch yards to jobsites without exception.

(Undisputed Fact 36.)

       TNT Midland Branch Manager John Harrison testified that he understands the continuous

workday rule and agrees that loading diesel in an auxiliary (“L”) tank and other equipment onto a truck

is work time. (Undisputed Fact 37.)

       Likewise, in his role as TNT San Antonio Branch “time approver,” Todd Stevens understood that

crane operators are legally entitled to be paid for time they spend obtaining and loading fuel or supplies

needed for work from TNT’s yard or stores or gas stations before or after driving to their jobsites, as

well as the drive time that falls between other compensable tasks. (Undisputed Facts 9, 38.) Stevens

testified clearly that he understood the law requires TNT to pay crane operators for their travel time when

it falls between other compensable work tasks, but TNT did not pay that time, following its written

policy, when the operator provided his own lodging and received his $100 per diem. (Undisputed Fact

39.)

       TNT Houston Branch Manager Alex “Bubba” Murray also testified that he has understood

throughout his tenure at TNT that the FLSA applies to TNT, that the time crane operators spend loading

fuel into auxiliary “drag” tanks or loading supplies needed for work are compensable tasks that can start

and end the workday, and that travel within the continuous workday must be paid. (Undisputed Fact 40.)

       Nevertheless, TNT admits that, as a matter of policy, it refused to pay the Plaintiffs for this

compensable time, depending on the type of job and arrangement TNT had with its customer. (See

Section III(A)(d) above.) Therefore, Plaintiffs seek summary judgment denying and dismissing TNT’s

good faith defense and holding that TNT is liable for liquidated damages. The issue is particularly
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appropriate for disposition on summary judgment given the district court’s discretion to award liquidated

damages even if an employer establishes the good faith defense. See Mireles, 899 F.2d at 1415 n. 8

(“Even if a trial court is satisfied that an employer acted both in good faith and reasonably, it may still

award liquidated damages at its discretion in any amount up to that allowed by 29 U.S.C. § 216(b).”);

29 U.S.C. § 260 (if the employer proves good faith and reasonable belief, “the court may, in its sound

discretion, award no liquidated damages or award any amount thereof”).11

                                                 IV.      CONCLUSION

         For the foregoing reasons, this Court should grant Plaintiffs’ Motion for Partial Summary

Judgment and find, as a matter of law, that:

         1.       TNT is liable for unpaid overtime compensation for the unpaid time Plaintiffs spent

performing the first and last principal activities of the day and travel time between the Plaintiffs’ jobsites

and other locations where they performed the first and last principal activities of the day;

         2.       TNT’s failure to accurately record all the Plaintiffs’ travel and other work time entitles

the Plaintiffs to the Mt. Clemens Pottery burden-shifting framework for determining the amount of

compensable time for which TNT owes the Plaintiffs overtime compensation; and

         3.       TNT cannot establish its good faith defense to liquidated damages because its officers

and managers knew they were violating the law.




11
   Defendant’s admissions that it refused to pay for travel and work tasks despite knowing the FLSA requires compensation
not only foreclose Defendant’s good faith defense but also establish that the violations were willful. However, Plaintiffs defer
a ruling on their claim of willfulness until trial.

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                                                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 4, 2021, I electronically submitted the foregoing document
for filing using the Court’s CM/ECF system, which will serve a true and correct copy of the foregoing
document upon counsel of record.


                                                     /s/ Aaron Johnson
                                                     Aaron Johnosn




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